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            8                                 UNITED STATES DISTRICT COURT

            9                                NORTHERN DISTRICT OF CALIFORNIA

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           11    IN RE: FACEBOOK, INC. CONSUMER              CASE NO. 3:18-MD-02843-VC
                 PRIVACY USER PROFILE LITIGATION,
           12                                               [PROPOSED] ORDER GRANTING
                                                            FACEBOOK, INC., GIBSON, DUNN &
           13    This document relates to:                  CRUTCHER LLP, AND ORIN SNYDER’S
                                                            ADMINISTRATIVE MOTION TO
           14    ALL ACTIONS                                TEMPORARILY FILE UNDER SEAL
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Gibson, Dunn &
Crutcher LLP
                    [PROPOSED] ORDER GRANTING ADMINISTRATIVE MOTION TO TEMPORARILY FILE UNDER SEAL
                                                CASE NO. 3:18-MD-02843-VC
                       Case 3:18-md-02843-VC Document 999-2 Filed 08/23/22 Page 2 of 2


            1
                                                       [PROPOSED] ORDER
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                          Before the Court is Facebook, Inc., Gibson, Dunn & Crutcher LLP, and Orin Snyder’s
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                 Administrative Motion to Temporarily File Under Seal (the “Motion”). Having considered the Motion
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                 and all supporting documents, the Court GRANTS the Motion and orders that the following documents
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                 be temporarily filed under seal:
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                                                    Portions Sought     Statement/Evidence Offered
            7                  Documents                                                               Ruling
                                                     To Be Sealed          In Support Of Sealing
            8     1     Facebook, Inc., Gibson,     Entire document    Defendant to provide by
                        Dunn & Crutcher LLP,                           August 26, 2022, per the
            9           and Orin Snyder’s                              Stipulation
                        Supplemental Brief in
           10           Opposition to Plaintiffs’
                        Motion for Sanctions
           11

           12     2     Declaration of Rosemarie    Entire document    Defendant to provide by
                        Ring and accompanying                          August 26, 2022, per the
           13           exhibits                                       Stipulation

           14     3     Declaration of Heather      Entire document    Defendant to provide by
                        Richardson and                                 August 26, 2022, per the
           15           accompanying exhibits                          Stipulation

           16     4     Declaration of Austin       Entire document    Defendant to provide by
                        Schwing and                                    August 26, 2022, per the
           17           accompanying exhibits                          Stipulation

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                 IT IS SO ORDERED.
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           21    DATE: ___________________                            /s/ ________________________
                                                                      VINCE CHHABRIA
           22                                                         United States District Judge
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Gibson, Dunn &
Crutcher LLP
                      [PROPOSED] ORDER GRANTING ADMINISTRATIVE MOTION TO TEMPORARILY FILE UNDER SEAL
                                                  CASE NO. 3:18-MD-02843-VC
